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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                       )
In re:                                 )
                                       ) Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,     )
                                       ) Case No. 19-34054 (SGJ)
              Reorganized Debtor.      )
                                       )
                                       )
In re:                                 )
                                       )
THE CHARITABLE DAF FUND, L.P., and CLO )
HOLDCO, LTD.,                          )
                                       )
                                       )
                                       ) Case No: 3:21-cv-01585-S
                                       )
                  Appellants,          )
vs.                                    )
                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.,     )
                                       )
                                       )
                   Appellee.           )
                                       )

                                      CERTIFICATE OF SERVICE

       I, Ronaldo Lizarraga Angulo, depose and say that I am employed by Kurtzman Carson
Consultants, LLC dba Verita Global (“Verita”), the claims and noticing agent for the
Reorganized Debtor in the above-captioned case.

        On February 17, 2025, at my direction and under my supervision, employees of Verita
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A:


                                          (Continued on Next Page)



1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Order [Docket No. 36]

Dated: February 17, 2025
                                          /s/ Ronaldo Lizarraga Angulo
                                          Ronaldo Lizarraga Angulo
                                          Verita
                                          222 N Pacific Coast Highway, Suite 300
                                          El Segundo, CA 90245




                                          2
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                             EXHIBIT A
         Case 3:21-cv-01585-S                Document 38 Exhibit
                                                           FiledA 02/18/25                 Page 4 of 4        PageID 7950
                                                           Appeals Service List
                                                         Served via Electronic Mail


              Description                    CreditorName              CreditorNoticeName                        Email
Financial Advisor to Official Committee
of Unsecured Creditors                  FTI Consulting            Earnestiena Cheng               Earnestiena.Cheng@fticonsulting.com
                                        Hayward & Associates      Melissa S. Hayward, Zachery     MHayward@HaywardFirm.com;
Counsel for the Debtor                  PLLC                      Z. Annable                      ZAnnable@HaywardFirm.com
                                                                                                  rpachulski@pszjlaw.com;
                                                                                                  jpomerantz@pszjlaw.com;
                                                                  Richard M. Pachulski, Jeffrey   ikharasch@pszjlaw.com;
                                                                  N. Pomerantz, Ira D.            joneill@pszjlaw.com;
                                                                  Kharasch, James E. O’Neill,     rfeinstein@pszjlaw.com;
                                          Pachulski Stang Ziehl & Robert J. Feinstein, John A.    jmorris@pszjlaw.com;
Counsel for the Debtor                    Jones LLP               Morris, Gregory V. Demo         gdemo@pszjlaw.com
                                                                  Robert Joel Feinstein, Hayley
                                                                  R. Winograd, Judith Elkin,      rfeinstein@pszjlaw.com;
                                          Pachulski Stang Ziehl & Jordan A Kroop, Robert J        hwinograd@pszjlaw.com;
Counsel for the Debtor                    Jones LLP               Feinstein                       jelkin@pszjlaw.com
Counsel for The Charitable DAF Fund,
L.P., CLO Holdco, Ltd., Mark Patrick,
Sbaiti & Company, PLLC, Mazin A.
Sbaiti, Jonathan Bridges, and PCMG                          Mazin A Sbaiti, Jonathan           MAS@SbaitiLaw.com;
Trading Partners XXIII, L.P           Sbaiti & Company PLLC Bridges, Kevin N Colquitt          jeb@sbaitilaw.com
                                                                                               mclemente@sidley.com;
                                                                  Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
Counsel for Official Committee of                                 Russell, Elliot A. Bromagen, ebromagen@sidley.com;
Unsecured Creditors                       Sidley Austin LLP       Dennis M. Twomey             dtwomey@sidley.com
Counsel for Official Committee of                                                              preid@sidley.com;
Unsecured Creditors, Marc. S.                                     Penny P. Reid, Paige Holden  pmontgomery@sidley.com;
Kirschner, as Litigation Trustee of the                           Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Highland Litigation Sub-Trust             Sidley Austin LLP       Chandler M. Rognes           crognes@sidley.com
Bankruptcy Judge                          US Bankruptcy Court     Hon. Stacey G Jernigan       sgj_settings@txnb.uscourts.gov




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